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 T. A. BLACKBURN LAW, PLLC
 Tyrone A. Blackburn, Esq.
 NJBARID#232602020
 1242 East 80th Street, 3rd Floor
 Brooklyn, NY 11236
 P: 347-342-7432
 Attorneys for Plaintiff Liza Gardner
                                                      UNITED STATES DISTRICT COURT
     LIZA GARDNER,                                    DISTRICT OF NEW JERSEY
                          Plaintiff,

     -against-                                         DOCKET NO.: 2:24-cv-07729-LMG-JRA

     SEAN COMBS,                                             NOTICE OF VOLUNTARY
     AARON HALL,                                                   DISMISSAL
     DONALD EARLE DEGRATE JR., AKA,                           WITHOUT PREJUDICE
     DEVANTE SWING,                                     AS TO DONALD EARLE DEGRATE
     UMG RECORDINGS, INC., UNIVERSAL                    JR., AKA, DEVANTE SWING ONLY
     MUSIC GROUP, N.V.                                 PURSUANT TO F.R.C.P. 41(A)(1)(A)(I)
     JOHN DOES 1-10 (names being fictitious and
     used to connote an unidentified person
     responsible for this occurrence), JANE DOES
     1-10 (names being fictitious and used to
     connote an unidentified person responsible for
     this occurrence), ABC CORPORATIONS 1-10
     (names being fictitious and used to connote
     unidentified entities responsible for this
     occurrence),
                             Defendants.

          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Liza
 Gardner (“Plaintiff Gardner,” “The Children,” “The Child,” “Ms. Gardner”), by and through her
 attorneys at T. A. Blackburn Law, PLLC, hereby give notice that Plaintiff voluntarily dismisses
 all claims against Defendant Donald Earle Degrate Jr., Aka, Devante Swing, ONLY, without
 prejudice.


 DATED: January 14, 2025
                                                                     /s/Tyrone a. Blackburn, esq.
                                                                    TYRONE A. BLACKBURN
                                                                   T. A. Blackburn Law, PLLC




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